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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

       Plaintiff,

vs.                                                        Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

       Defendants.

                          STIPULATED ORDER GRANTING
                       MOTION TO EXTEND REPLY DEADLINES

       THIS MATTER having come before the Court on the Joint Motion to Extend Reply

Deadlines (“Motion”). [D.E. 129]. This Court having considered the Motion and being otherwise

fully advised in the premises and for good cause shown, FINDS that it is well taken.

       IT IS HEREBY ORDERED that the parties shall have until May 21, 2021 to file any replies

regarding (1) Plaintiff’s Response to Motion for Protective Order, and (2) Defendants Meow Wolf,

Inc. and Vince Kadlubek’s Response To Plaintiff Lauren Oliver’s Motion To Extend Rule 16(B)

Scheduling Order Deadlines.




                                                    Honorable Steven C. Yarbrough
                                                    United States Magistrate Judge



                                                    Respectfully submitted,

                                                    BARDACKE ALLISON LLP
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                                                     /s/ Breanna Contreras
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                                                    and Vince Kadlubeck

Approved by:

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By:   /s/ Jesse A. Boyd
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